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15                             UNITED STATES DISTRICT COURT

16                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

17   UNITED STATES OF AMERICA,                 No. CR 19-061-JVS

18               Plaintiff,                    GOVERNMENT’S EX PARTE APPLICATION
                                               FOR AN ORDER PERMITTING THE
19                    v.                       PROSECUTION TEAM TO RECEIVE THE
                                               SEPTEMBER 2019 CORRESPONDENCE
20   MICHAEL JOHN AVENATTI,                    BETWEEN DEFENDANT AND THE
                                               PRIVILEGE REVIEW TEAM; DECLARATION
21                Defendant.                   OF BRETT A. SAGEL

22                                             [PROPOSED ORDER LODGED HEREWITH]

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25         Plaintiff United States of America, by and through its counsel

26   of record, the United States Attorney for the Central District of

27   California and Assistant United States Attorneys Brett A. Sagel and

28   Ranee A. Katzenstein, hereby files this ex parte application for an
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 1   order permitting the Prosecution Team to receive the September 2019

 2   correspondence between defendant and the Privilege Review Team

 3   (“PRT”).

 4         On January 12, 2022, without explanation or prior consultation

 5   with either the Prosecution Team or the PRT, defendant publicly filed

 6   a notice of filing correspondence from the government dated September

 7   5, 2019 and September 19, 2019, which included a letter (and

 8   enclosures) and an email from the PRT to defendant.            (CR 902.)    These

 9   communications addressed defendant’s request for certain folders on

10   the EA servers, including six folders that the PRT did not produce.

11   Defendant’s filing did not include defendant’s communication

12   requesting the folders, to which the government’s email on September

13   19, 2019, responded, or the letter the PRT sent to defendant the

14   following day, in which the PRT explained why it was not producing

15   the six folders that had been requested.

16         Defendant may attempt to rely on the correspondence he filed on

17   January 12, 2022, in support of any arguments he presents in his

18   reply brief in his currently pending appeal from this Court’s denial

19   of his motion to dismiss.       Defendant’s reply brief is due to the

20   Ninth Circuit on January 28, 2022.1        By this application, the

21   government asks the Court to permit the Prosecution Team to obtain

22   from the PRT the complete correspondence between defendant and the

23   PRT regarding defendant’s request for the six folders so that the

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25         1Any attempt by defendant to rely in his appeal on the
     correspondence he filed on January 12, 2022, would be inappropriate
26   because that correspondence was not part of the record at the time of
     the decision being appealed. The government reserves its right to
27   object to any citation of this correspondence and, in the event that
     a motion to expand the record is granted, to argue that that the
28   record should include the complete correspondence.
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 1   government may ensure that the record is not incomplete or

 2   misleading.2    Specifically, the government seeks an Order from the

 3   Court permitting the PRT to provide the Prosecution Team with

 4   defendant’s communication to the PRT requesting specific folders and

 5   the letter of explanation the PRT sent defendant, both of which are

 6   referenced in the September 19, 2019, email (CR 902 at 15).

 7         This application is based upon the attached Declaration of Brett

 8   A. Sagel, the records and files in this case, and such further

 9   evidence and argument as may be received by the Court.

10         Defendant opposes this application.

11    Dated: January 21, 2022              Respectfully submitted,

12                                         TRACY L. WILKISON
                                           United States Attorney
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                                           SCOTT M. GARRINGER
14                                         Assistant United States Attorney
                                           Chief, Criminal Division
15

16                                               /s/
                                           BRETT A. SAGEL
17                                         RANEE A. KATZENSTEIN
                                           Assistant United States Attorneys
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                                           Attorneys for Plaintiff
19                                         UNITED STATES OF AMERICA

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27         2The government is not seeking all communications between
     defendant and the PRT, only those related to and referenced in the
28   communications that defendant put in the public record.
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 1                           DECLARATION OF BRETT A. SAGEL

 2         I, Brett A. Sagel, declare as follows:

 3         1.     I am an Assistant United States Attorney (“AUSA”) for the

 4   Central District of California.        Together with AUSA Ranee A.

 5   Katzenstein, I represent the government in United States v. Michael

 6   John Avenatti, SA CR 19-061-JVS.        I have personal knowledge of the

 7   facts set forth below and could testify competently thereto.

 8         2.     I make this declaration in support of the government’s ex

 9   parte application for an order permitting the prosecution team to

10   receive the complete September 2019 correspondence between defendant
11   and the privilege review team (“PRT”).         Specifically, the government
12   seeks an Order from the Court permitting the PRT to provide the
13   prosecution team with defendant’s communication to the PRT requesting
14   specific folders and the letter of explanation the PRT sent
15   defendant, both referenced in the September 19, 2019, email (CR 902
16   at 15).
17         3.     On January 12, 2022, without explanation or prior
18   consultation with either the Prosecution Team or the PRT, defendant
19   publicly filed his “notice of filing correspondence from the

20   government dated September 5, 2019 and September 19, 2019,” which

21   included a letter (and enclosures) and an email from the PRT to

22   defendant.    (CR 902.)    Defendant’s filing, however, omitted

23   defendant’s communication requesting the folders to which the email

24   on September 19, 2019, responded, as well as the letter from the PRT

25   to defendant sent the following day with the explanation for not

26   producing six folders (also referenced in the September 19, 2019,

27   email).

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 1         4.    Because defendant previously argued that his filing of an

 2   interlocutory appeal divested the district court of jurisdiction (CR

 3   861), the government believes defendant’s filing on January 12, 2022,

 4   was made in preparation for, and to be cited in, his reply brief

 5   before the Ninth Circuit, which is due on January 28, 2022.             The

 6   government maintains that it would be inappropriate for defendant to

 7   cite in his appeal the correspondence he filed on January 12, 2022,

 8   which was not part of the record at the time of the decision that is

 9   the subject of defendant’s appeal.           If, however, defendant does

10   attempt to expand the record, the government believes the record

11   should include all of the related correspondence so that the record

12   is complete and not misleading.        The government is not seeking all

13   communications between defendant and the PRT, only those related to
14   and referenced in the communications that defendant has publicly
15   filed in the record of this case.
16         5.    On January 19, 2022, the undersigned sent defendant an
17   email (through his advisory counsel and paralegal) asking defendant
18   to provide the additional communication to the government or to let
19   the government know if he objected to the PRT providing the

20   Prosecution Team with the communication (and if he objected, any

21   basis for his objection).       The following day, defendant provided the

22   following response: “I object for the reasons previously stated on

23   the record.”     Based on defendant’s response, the government advised

24   defendant that it would be filing this ex parte application to obtain

25   any additional correspondence relating to the September 2019

26   communications that defendant filed and sought his position to

27   include in the application.

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 1         6.    On January 20, 2022, defendant provided the following as

 2   his position: “The government waited to file its ex parte application

 3   until the defendant, who is pro se in this matter, was in trial in

 4   the Southern District of New York. The government did so while also

 5   failing to disclose the purpose behind the application (i.e., why the

 6   prosecution team is demanding the correspondence at this juncture).

 7   The defendant opposes the application and will file a written

 8   opposition pursuant to the rules of the Court.”

 9         7.    This application is not made for purposes of tactical

10   advantage, but is being filed now because defendant only filed the

11   correspondence at issue last week and his reply brief to which the

12   filed correspondence likely relates is due next week.            The government

13   sought to resolve this issue with defendant without needing to

14   present it to the Court.       Defendant has yet to provide the government

15   with any specific objections explaining why the Prosecution Team

16   should not have the related communications referenced in his public

17   filing.    Notwithstanding that defendant is in trial in New York, he

18   has been able to respond timely on two separate occasions to the

19   government’s request.      Defendant also has sent the government several

20   emails and filed motions in this matter since voir dire began in his

21   New York trial -- including a motion to strike this week (CR 907) --

22   and has stated that he will file a written opposition pursuant to the

23   rules.

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 1         I declare under penalty of perjury under the laws of the United

 2   States that the foregoing is true and correct.           Executed at Santa

 3   Ana, California on January 21, 2022.

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 5                                                 /s/
                                           BRETT A. SAGEL
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